TO:    All Court of Appeals Judges, Professor Bacigal, Professor Swisher and John Tucker

FROM: Marty Ring

DATE: April 7, 2015


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Julie A. Rubino
              v. Justin Rubino
              Record No. 0595-14-1
              Opinion rendered by Judge Humphreys on
               January 20, 2015

          2. James Edward Williams
              v. Commonwealth of Virginia
              Record No. 0700-14-2
              Opinion rendered by Judge Petty on
               January 20, 2015

          3. Loren Anthony Mason, Jr.
              v. Commonwealth of Virginia
              Record No. 1542-13-2
              En Banc Opinion rendered by Judge Kelsey on
              February 3, 2015

          4. Morgan Sinclair Goodwin
              v. Commonwealth of Virginia
              Record No. 0190-14-3
              Opinion rendered by Judge Decker on
              February 3, 2015

          5. Antwain Maurice Jones
             v. Commonwealth of Virginia
             Record No. 0087-14-4
             Opinion rendered by Judge Beales on
              February 18, 2015
